Case 3:13-CV-02583-GPC-KSC Document 1-1 Filed 10/25/13 Page|D.S Pagelof?

EXHIBIT “A”

Case 3:13-CV-02583-_,GPC-KSC Document 1-1 Filed 10/25/13 Page|D.4 PageZof?

 

  

 

 

 

 

F,'EB} n't§{,i:sg izme and ORDE§§ cr¢r.¢¢.slamps'gésqv;!:e:{§_£ahe 1 form is'mat;.
7 ‘ \ to-Go. to `Smaf§ Ciaims B@u_rt ' ~‘*~ -‘
Noti'ce to the person being suec§: - ‘~`55\‘5»` )'-";"“ '-"“

"`“" FL¢_' 5`:;2` §,:."P§'}
- \i"uu‘l'iz'\."_lfz_c Ds:f`cnd;ml il'yc:`_u`r .*'Lzu`nc is §isi~:d iu @'L`m page 3 nii§h§s`
ibmr( '§`§;'c person suing you is eha i’£n§m;'ff`, §i.\'.',z_e':¢j i:\=© nn p;z_'ge:¢l
- ‘_¢'uu ~emd she _Pi::i¢_\iii? musi:gn.lu ama gm size §§qu dow 335ch b<.‘fm§x §§me
do ms §§ z_'d court1 you may k_:~.`\:¢".¥}_\: casa

 

- Ji'.y<>u lose.;.§&;:, s;om‘l`can bajdcr sims year xvag§s. mbircy. ‘B'r-pmgcrxy_ i'z¢:
tu§ac‘;~z'\`u pay this c§:;'im;

 

- Biing~wisaes§el»;, reheip:s. :mzl my ev`_'ici;§n_:e yuu;n end to' pruitc;ijm~c:zsc. Fgmccm m Mgg;,;e§; Mm.

 

 

 

 

 

 

* i?.cm.l !b:'.\' iiar§u and all p:)g'i;.\; u;r:;ck§;z§.w madurszun'd xh=`: cinim-ug:aiz);s: SBP¢.NW- Céuri'nf~ca:ifgm;,'c¢§my~nz
you z§'mi is p:'ch.'c: yuu_r ri y,l \:S'. d § gen 'D§egg 7 1

Av§<so §§ E}e`mandado: ` ; LSUF_)'?}`ic-i*` G°wi-!`Bm'“"§ C.§.BE*`“-

z .- 7 l d . ® . d '_} '8§57{) Ciaife??%&¥§§-M_e$ae BWU'-
Usmi us ci D#.'m‘:md_s§da) :,1 au numb;c- i'£§._;z:r~;_; g L!c~ m pug!aa -r 7 gen Diég-G' CA 32>§23
dc'cs¢.c,fm'z);uia_nu. £_a persona qua 20 d<_:mand_a_ c.~;~c§ Dumaudamc, 3:1 qua .
mgm-a e;;®dj:.]a pa gina'_zi ` CF£!R 533 l'!'l :DSG r§f]nihé?mca$»; nori":i:.'

l ` . t , l Case._$~ii:mf:`ew‘. `

» §§th y c£_ §cn;::mianlc~ix'cr_\i:_n.qxzz:-*pres£mm“se cu la com en 11 fcchu zim 37_2§.§3_53311$25`5,3$€;:?§_

jun_';o zéxézg¢;:§a ;1 corziinu;lyiocs. Si m3 rec prasema._ pu`§,'dr: power c{.x:z:so-.\ dasa NamE-:

' §§ picnic c`§ case ia‘uunc pod_Ha animus \:,z;c ic qzxiicu',dg;slrrsuc£d:);diners ss
sims hinges para p;s_z;'£ie‘ csc`t\:'rc::§nme).

 

 

gism@_?_ .J.;,_ 'SFA‘ $S`S¢”-**Y’r:"=», 1:~.,¢;

 

‘ Licw: scs;§go`s. mcibas y eug_?qui_cr-szra passim zinc sz;gtsiic'pam pm§a_r wicas<)..

_ Lv:a me f's_nnie§asi§ §_r zodas.f:es pég':z;as E§jvnf:za: para cr_'u¢n_`_dc'r !:: dm;;xz~zzi'a its su gr'.\r:_zr'n y pam;prm§;gi.§f asks icrccho s.

 
   

Th_e peog:sf,e ih @ and .‘ma;s:t ga w court_'. _(c:':¢-r-k_;;!:x_¢m¢ umw many

 

 

 

 

`Tn§a; § s".>zrzc { ”;`i}nc Dc;z;;_nmenx- `N:mj»\: m_ld adzizpss,us`l:;oun‘iz".différ¢n§§rom'.a§mx~.'.‘
gate i"_.f`;}az§p, Vz:>.§.‘oi>»@.'w_ P:M»§
'.~3 '

 

 

ggmr§xa§nuesrroacomg:;§§g€ m;szm;;ub§§sin.wz:s§§§za§“e amam§swwmm?m wis .
* " `Czers`-.-`x§;,» MPWM!‘§§M _

Daes:: H.H . Bcpu§y

 

 

!nsmse:t§ons for the gerson suing

‘ sz-ur<: she P.§zxizzsi_f£ `f°§i=: person y_c;& ;rt,.w§:eg is file E}c=”cmimzi.

~ 815/brt y<'su ¥Z£E-'q'zz_§ fiais`!'om), regd`Ea§r:`ci.SC»§_§G-§NFQ; §iyg`:u['§:mliw;_,%;i!?:e.
SC¢§QG~§NFO ;E=zmy auur_'mssus_e‘£;r's;sumy haw §§§:’zuz_jy. or go icc w

- Fiif wzp:s;,'cs 2='::§;{_3 o£lh£s lhr‘m\_ ’I`§§e:_\..:_s:ai&a copiés"of=:a_ljz!mgcs oi`§§:£s'§`c§)§z.»{f\gfri}<'¢€§ cupy.i`or ¢a§iz.;z,,:§ii§`». musz in
ifc§s'c;s`z§e: £u_z_d »-.::\ cxsra capy fsf_§*ciur:sr,:li'.]"'f`;:i;u cyr vx:_z§i¥ zim origizm'}<gm§ ;_Ez'ts§: cé:~pics=`m the em:_n qie_:;¥<_’.=¢ o?§k:v:am] pay
_:h#.:.fii:`ng f`ec.» '"£‘izc'i:lvri.' wm write size ;§_::__ie»`nf your iri;zl in c?a'e.l;i;iic asbe_z~:'e.

?’!§iu{y}.` m khuw»ymr!- 1§§;£:+§_. G:;
551 z_-,czs;:z':‘,~?, z'€:.~gm vivianH§Is`;'z`§ir,s~éferm.

- ‘i"'au main §zuy;_z'-s§mcmw ;¢L ¥arm; l.‘§-m;¢f yen m:..~mym\-,: ui‘si:'l§:~:rud-ix; ibiss:‘.ase-~»giw hugh ikel`usul¢:;;z il g`iz;q`;»ss".zmped
msz c»:"a}_? 5 pagca`uf mfg R_s\_"m med amy pages £Iiis~i"g:jz_u1_4:!!5"}1;;11.1¢)gi_§;e¥;}i."?_`émzx: arc wedqu in§es‘i§;gr` `;§‘cwii g" or _
duii‘\*_'<'.'l~§seg, sllis'i`c)m}_&c_ pubiic.-cnei§`:"cs_ meami;`zi§<`:c:§..nnd some izns§hcs;c§. S.s:s; .*"':;nus’§SC»i§}~"v‘ SC»'Z‘Q%SB.
nms,§r:~_lz)é€,;,

~ 'G_s;_ z'zscésri`r$ csx_j§m:r mm 21 ute fined zizz>:`w:; Si“i;:_f;§\'-'izn€sscs; {uL‘;,-_i;;'_is( s:_i:i

‘:my‘cv`§dc::cs._“ ,yL`)`!J r;i:{zd ice gsruvc`_ }'é»uf,ua§§l

 

”€W°=“”‘“‘M:‘r:f”f;*-F=EMW“ ' wamst csa§m'ar§d Q§zm&;=`a S€=m m 1 viz-
§;E§§;’.=;°ill?£;;‘f§§;i¢m ,,.Z§‘;;;, ;¢ 6a w $m§:'e§a¢m$ wm -w%»
vacuum :;s:j-Mg; ` meHH £`:1€!§_!"3’!$}

'2~§|5?8

z”{i¢ “Fr-i§

 

as

   

,.
§§asé i'\!ur`ni`z`€r:'
_p!‘,g;nd_;{§i-S,, ,,.{;l,,¢,',.,,_: I=zazpn Fzsgh_¢r_ v L_ 3?-2§13£&)@3‘§192$~§3;:

 

 

 

 

@ T§ze P§a§niif_f {ih_e:pers:m, &§S§`ness, or p§jblic`: ent§%yitba€.is 'suing}-i's; - 7 ’
N:il‘é¢: RaiphFi$chEr

 

 

 

 

 

Pzwm¢: _:§8 }'212¢53 75
Si;,x; §§t§r-C§S; '1'__{_)_(385 Faseu MQHEF§$ SSE`¥G?'_

 

 

 

S`an Biéc;o ca 's 211 29
S!ma: {_`;'»€y SIa~i'-:¢' Zi§
Mzz§§i!i§__t;§éz_iruss_fg`,f`;ig'f;£w.»r)): ' . - -- 7 .
Sm:e: ' 1311 §§ j$!ate Zip

z`f-m¢re‘ ma one P!a:-m§f§, ses§ mm P:ain:iFf-here;
!_‘éumz;:

 

 

z:, ;, '
' - .. _` rd - ' . . g~i.{!§§¥.._ {___~ j
Si:cz:§`;id;§rc:£;; 7 ~:

. 1 w
S!rsei ' Ce`iy' ._':`re§e Zip

i`vi;xi§ 1`*1 g axz§{§r§:$s? {{§F{{f/fcrr'i{:j,'

 

 

 

 

S:ree; ` ~ .Cay sane eggs
m C!ir'c“£' "hm_'c :,/`m£u'r. h':'mr 2 P?£:e`ziff{ji§' riiru'-z:fmch F¢ri"m.\$`€',~‘ i{[f;,-J.»

m CF}£’¢:£'F;£'N §7¢»:';1)¢':' Fh_:fr_`r!{-{,i'!isf¢-¢i who 1`:¢' j:§' doing I):rsi;:z’$\‘ )r:z:r`gi';.rj?¢~)z?idr:s nam¢'.»[f.\'r), awards Fz;:': .' SC'~'¢‘{F.¥.

@ fha B@_;§r;dan:';ihe persmh,_§msmess, Qr_pun:ac:emezy being enemy zs.»- _ `
Nm»§: SF?A $SSOC!AFES. INC_. __* \ thw,;{_»§§§ '§49?-@329;

 

 

 

 

g[!.cmaddms: 451 Minne{oni<§ Fi£>ad

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

'i'§ Neifa= 1344 BUBB
s_m.' cay mae ,,»;,-
MRH§HB address H},_.JN‘-WW}__Euw.wmw@ms¢_w._.ma,cuwa,mum».¢§¢¢rsm Sa¢§gm@ngo QA 35333
3lreai £',`z'fy S£e£e 2 p
if move ivan sine Be?endant, §§s£-;nex£ 'Defandan£ he;"e;
Nzcmc: P’no¢jc: § § . _‘___
Si;'c\:£ ad{i¥‘s;§_§?
31109! §fo S£a£o? 2f1
Mniii:}g adi§_rc:s$ f`g`,!`<hj?r¢-gn,i: . __ -
same ‘ say arms z.»

m Cé';é'i{ bare §F');réjre,l}mrz 2 quE¢-:ra{mef,":` d¢i)¢f r¢):¢w!i F`;.::)‘;j; ';SC~J{}¥K»'!,

§§ Cf:c¢'z§' f:¢~rz' 'e“'_;mn‘ £_J¢' e:e.u‘cm¢ :`.f mi ;.:L~.'ii¢¢’ mffi`rru;l-‘.;fgr]'_l', mad '.w‘ig¢» !ii_f'.z`ur»'!n'z‘ adam 'f!iji*e.' .

.<' , , . ---_.._.__.._
@ '§`he Pia§n€§ff c!z§£'ns file §}efen§`a€§t,awes $ 5-0€}9-60 , g£e;>fr»¢'): hei¢m»;.~

u, Wiry£§oes fha Ba:l'cmiam owe cizc.?!ain!§£‘§‘mun_e'}"?` ` , . mm
Vio§:;%§a;; of £ha. Ffafr ‘C,re` §§'R@;:o:j&n§ Ac£. Re;:eated sai§f~.=. w wari_<:;)i~ione.numbe; af€er \f:e;z;~;a and
ilesiz;f a &e: was-sent ‘ ""

v, mm 4§;»§ zz;z.<_1@;,¢¢1?';£)§;¢;-.» _ v _ Y

. _ w , g ,
`l£'ztp»s;:i_c`§’i}“m <,izuc:. g§\»'¢‘: §h§ !§me pcri`§id: £Jnm 5:;:;‘;;¢`;!_','£7]2._2_*£2£§_§;__,____~___ Ff:r'n:§;;é:-P~.R~ESE,.~.§;;_“_M_,W
"c. .£'§ui\: §§qu caint{ia:e'li:u §§u):_‘:éy',o',\x'ezi£m }'.*J§`j:? {D:: smi- r"m'frr§;`z_-.:‘mg‘i z'c).§/.s~-az;f£-¢;\"!£u'¢‘=':'\1£1:¢~.} .
$:?',DUG?.£}§ §;)r each viqfatiun.¢ ' ' ` '

 

 

 

' U {`jz¢":“!€ izwz~ gil-vw );L~¢-:;'»:m.u"{»..¢_§¢‘)z'e. .{?);e;*§¢~e:!¢;'-.v:!.'w_'=' q}';;¢;;r{-r ;;1";*¢2»;“;{;\;§»!{3-|§¢_.§’{ ¢_nf;'¢a' u'.'~."fe- "‘.’z.C-?§{},,!&" z_¢ 3 "=‘n;

zi:.:' !:zj). '
”‘““'"*~"“"“"'f‘-R“‘$ §§a§n§i?€,‘s. C_§§im ansi_€}§§}§§? 3‘3"‘=9 P§aa?? ¢f'i'>
m G`e) to Sma§£ maxims Cow'i' *~%
§Smah G¥é€ms_j

 

\

- - -'GF’C-KSC Document 1-1 Filed 10/25/13 Page|D.€ Page40f7

1

Ca§e Numb ur:

    

Pf;z`u£§f'i'{fi_w accim€.w}.' Razph F"S‘;hef ' §?’20?3"653§?9-25;‘§€‘5€'§1'£»

 

‘z’_e§.s must,as§c the Deferzdan£ fin pezson; in w§§£§ng;
sue i-iaive you;d¢neth§s? §§ `z’es m NL)
§,r“u;r. my)§{:u':i why am!::

ot- hy-pho_ne€§' to pay you héf§`;»’ely<_)u

 

 

 

 

 

 

 

 

 

 

®' Why are you fifing your ciaim mims cour§hduse‘-?
' ’I'§z€s vuurfth'§m§u covers r§z¢_ :§;'r;\'¢'c!m'£' H;¢"¢j.'ri":lm: ¢y;p!:'e.\'}:

"- §§ €§'? i§*her<: the Dcfcndl'izi§ ]§:‘»‘E$ or lists busfx_sexs. {4} Wha:s'x :1 emuru`ur (wi'jtlcp or. spu§ccn} win m:a<ic,
§E)"thrLi-`zlzc 'I'*lm` mi ?:’1"`3' progeny was ¢§_':iim;gcé, .s€gn€:é£, pcx§bmcd,\o°r hinges by she.l§é§x zsdnm.m»'

{33__'9`§,£.1-,_.5!;:@-gigi,_n_m"§v&$.`;',?jumg_ ` ,\:Amru i§;c D:.'f`md:u_u~‘l_ivcd cr éii§ iz;xs§zn;\i; when
` ' §§ch Dcfendm%i ma<fu`ih:: cm_i;mci.
,i). g W§:erc chc buyer ar Iess~:e §§§r:cd zim comr:e;i. lives anna §z,r Eivcxi wl
ix ihszzt_pu ol?'cl" or uc)zzz;~:u;zr for pcxs`m:i}, -i_'umiiy, or §1'<5_12:§:.-2
4P."w:._ § 5515{}.',‘;} ' _
1 ¢:. § thrc the buyer sigc:cé £{§i: td;:§:isr§. ¥i".'cs :mw. or §iw;d w§:e:s.z§`z¢ cun:rnct was madr_ §§ é}u`s efni n_is_ adults
§ h mm inszallmk:m c;mlmc: `{E£§~;x: ::,c_¢'cg_§il_card}. f(.'ivif Cude § 181 _,-"‘,h'}.}

zez: aha _c`um`rw:t was ma;i€, §"lhis cldin}
x&id’goud_s, \;:::rzé§cc.-s. or %G`:.m$-,' {G:di+-{ 51’¥~:

aé. w szerz: rise buyer_signe<i i§xe common iivcs\ mw_. or fixes-when §hc“comrm:t wa_s_n`_mdz:.-m‘ w§)¢rc mg .vuh§cie
is §c`rmu:wm¥y'gamgcd_ it'i$:is ef:im‘ié?&_f§oui 11 vghic§c finance su¥c. ;'Cii'»'f {E'r)¢!¢>, § 395¢_£.>4:}
c. §§ Qxi;`cr dq:ecg')fi§):` _

 

 

 

 

 

® Lést we zip cede-of the piazza checked én, @ above {§f‘;`;=mn‘mw}=): 9?"¥29

 

® !s¢geur ci`ai§n aboujt‘an attQm-ey»ci}ent §ee dispufe? §§ Yes i?l? Nc)
_ .f{'_i.‘cs. amf g'j-'yuujrrfy'a hachzs‘§;':;‘;;:§p:r`.j£!! ma /-`)Jr':ez_SE`-j¥)i--, mm¢‘i:f!}u1!)§3‘,;€)1';1),.c`:,izti.-`cfg¢_'.:'§‘.`r"w';'e.'§§
.§.ré_g:zu saz§ng-a,public entéty‘?_ !:3 Y¢'s; 513 Nc

{f:yé.§,z'w:;m:wfjih‘ a wrifn.'n.c{ah!z u’r”ifz e?gv emil_;!j§r'.w. ij A s:¥a§m WBS'}IIE<S mz'fkia!gi.‘

Wm
;§f'_siw ;);;!s§§*a=zz££{v denim your r!aq'i_q or dam mn r_mmrc»_r 1\1£!!:`£12’11§€ ¢:';;_§é' ez[{mz-‘£['f~!{a’ ]mit’, )-m: c*c.zzrji§é gf;§§_. mm

'Have god §§e§i more than 1.2‘13;{*;9? sma£l _c£aims w§‘;§z§n tim fast 12 months §§ Ca§_ifemia?
§§ Y-¢s No {f'_a»c.r_ i?;q,_`!i[izzgj£»¢"}br mix gmc aw'l£ b»:'.l:_;;g{i:c'rg,

 

@ 3unde`rszanc§,j`§hétjby=fi§ing=a swing ira sma!§.cfafims ccazt;,i have no'r§§htlt:$ ap`§zea§`€§z§a ;:£‘a§§§-:-.
f`§z:§j,?c gm fxii.°l_$;. and m;dersiane§*zjm; Z_,_z:amzm Efe_ nior¢.:`c!mu:ssvn Sni:z'§£ simms cases Fm" `m`_r.sre Iiz&n"-§?,S€}f)} n
Cé!i§`ér::ia during this-cnié:;das: yc;iz‘.-

I\Bcu.’::s`§v:., usually pcr;`:zity ~:)f`pcijm‘y asking Ca`!i£’on'»ia Sl:\gc ime-x §§z;s.: §§:g.‘%_zii`on“§mcion u§n_vq:` and mmst musg-

ahi,\;:é`or;:) is amc amf ua;~rcc_:i.

B:uc: §:ZC; gf"'?; Rai;;sh- F§':.’.c?zer § j‘;?fz£;j)f"l Mf./_Zf/,'L"/:!F/§'

mwéns m

 

 

 

    

- - y
Flr;i:a: iff 13 ';11»1;_` ?:r"p?v` nix umi'!¢.'.'izé)‘c ?-"`i_::i§;z`g'§’.§:'gr:`.e/ir§'re' '
D::§s:: _ g .
_5'::;'¢1£):! F[aisiiij?:;_.;pcs ur pé'{'¢}¢,\' tamm !:e§"i' ` .S`éc<:mi‘P!q:'m;'g?:.'rigm‘ keefe

§ Requests fmi Azcsmmodaiéons ` l "
As:zis§§v¢.!is€mi:zg sy`:§§eni's, cmupmer.~assig;i§d, rca§~;ime c_;'_s;`;;§oning_ pga-sign lmrgua;c:`i:§:i'gn t_¢:`r-

 

 

. j su'¢:§’iac.~:_:m:-u\'qi§abic:§é:§fozz,us.k z:i'lli.;a_si 5 days hgf"'[a: iiic;`€r£';'zi. Ce)m':;n;l={§m efurk`sk)_i§`z"-Lp'ilz'r“.¥ game
' m‘--m&"`% M;;',_-; mi ",q¢`ql,¢¢§f:;(';;¢_4¢»{#;;;{;;53,&;;}¢¢;3 .b_;- PL»_:_-;ms:.r éf~€féh !Z>;`x_»:'ér'}:‘n'_o.':»_cmr!,:?¢‘.s;)b:§.yc_ §LT:'\‘H' C`z)r?!_.=_§` 5~'!’.3`:’.)
nmns.m.,qqs,=:ezz ' 'P§ain§f§-»S g§£um and {}RBER 3€§-»1&9 Pa`gw.j 623
'i'<z €;<:`m 3ma!§ £§a_ims Ca#..:?€ ~.‘.\-
' {Sm"ai!‘;($?aimss§_
sums '

 

 

,‘.‘,,. _ , l

q

3¢;§?3

-dz:

     

“Sma_`}€ §§3§3¥3$ §§QUET" is '.1`..-;;)¢_';."1'::| cwa \\'h¢_zjc claims
fin"$"j;_{i_{§[¥ c\§_‘¢'__¥\:as*:xrc cicu§d i':£!.. .r\_ "`uazur::{ip'gzsbzi"”inoc'a
bna"im:_s%.=*<z;;;iu_l)!ic um§ay;;?\z.‘_iy' aia)z-;xp~\o

:gcw;m". _
S'l`il;i}_{}{_?, §`r:c¥ndiz)g:: golt:grop::x`cmr.=;*.' c`§t}bw. !'01'
. H-\}ul'¢kz;mg{_ LS`:;:;;§;. `T§zc ru=§c.i_ ;lr¢;'

  

_ \.

 

cxcc;z:ie:§s§}"fizp pyrr'c§L_~ _
simp§'¢_ :ni§j=:`a)fbnzmi:
Y=es: zezé size'D@§Etidani-ll:r_:_"pj."i"§oré b;:§zzgfsz;t;:c§_ Tilc
norma \v§z'o'_'ls sigi§a§ you €`s cbs me‘mif'§`,

B_o_ f new a iawyer?'

`1'011 may fagg §Q,z) lawyer bi.'f`ore.or a§‘tsr!€i'e c;:_se`. Bm ycle
amy mr i_z:`_;:‘»’§`z_¢_!axvyer rc'g).iu_¢,_§:fm }§'ou §§ cc§:z'am.,(iz_nicss lhis
§s»arr“ap;:::;§ri -f`rjnm arsnm£\ s:_lz'sims casc}.

_How do I ge€ ready for caurt?

`z*ocx_i§a{r`t £é:we m:i'§i`é any papers,bc£b§e ymu: trial un{cs`§,‘
yarn 431£:)!~:`£¥1£5 is iiz'.e wrd:zg com `i'oryo:;_rea.~:e. Bul bring
co your ixig§ amy wi=.ness:.§s. x'::cc§p':s-,- and Q~qi:f_czxcc chu:
s;\:ppr;&_isrym_lr ease -A;xd re._;rd fch Prz:;:a`:`a_':r.§ i'Q`:' Yom'
'I`ri:!l" 3a 194 ;<;w.€'um'£.‘;.`¢:i:.g`zés_"/.mzg{fcfa:'):m{’gé{“a‘pk:m.

§Nhat §§ 3 need fan accommodatigf£?

?¥` `y{m have a §§f§;sbili£y aware hearing §mpsircii, !`:Ei Qul`
Eo§m MC`~$ {{_!, J?Q:Qr}e.s'!“fc`)r.»'I;‘é£_mm:r;r!:¥!is)zz$. G`Z`v¢ live
i_`chh to you:‘cmz_r;.<:icsk.m die A'D:?,{Ag:cess_§`oe{;iina;c_>_r.

 

W§za.£ E§$ dbn"t'__é:.peak _Engiis'l'é W`éi§‘?

Br§ng as acfu_£a who-is nm a xvi:_ness-z;z Z:zie:r'p'mzibr you,_ on

a`_sk fha caud:c'i€*¢§<;fm-"an iaxle;§'r¢_icc az izzusz~;t':'v§`:‘dz:y§:béfore-

your‘cc;m dmé___ :‘§ eoun`~_;)ro’fids_cd lnr'ir:prnéur. mayi`:*é`o`z be
u`v'ailr§bie‘or E%)§:z“é' may/bea |_'ce_ £'¢Jr_ §i_`si_` 115 couri 1' qle‘q§c'ezer
ulnig:_s"s yca quai§i'§.t f"éxj_n` fec-xx-uiw:_r.~ ?‘{Ez;z"-l&m§' ask the §"o‘€:n.‘

?'l;':»r‘§.l }§§: of‘inrcrpre;crk;z£¢;d a!su=:hc‘.=ipg`)§;`r£z}:hwj§)r Ii”¢_:£vi='r`

Qf'Cr`z_q:"l I"c=ex.-:¢Ht$ C’os!.": {!`orm F-W.~_QE!} }.

W§he§re cars i.ge_€_-.'£hé\cc; uri»§u_`rm`s§`haed?

1530 ao` auy.'murx}wizs'c;_or your coumy'w§§_' Ii_bz'ary, or \i)rinr:

forms al: smmac'z>;zr;.¢.cu.go\'.£\‘nm{fcjg'¢giiz_c»j.j§br:m.

Wha`t'?\appens ar',th=.=.ltrl'ai?‘ _1

`l`“hc .j"r_~§'_zig ‘~sv;'iijis}g:'z so both s'idcs:- 'I`Ezz: judgean 1;‘;::`$:¢:.:'1

£_£c;s:i:;ion us your £Yigzj;_er mail ihs dc*;§sfp;l myers iac_$::',

Wha£t if>§` rose;the~cas@?

ii yca `Ios:,:,-_;{:.m=é:in appcu:!. ;Yg:'z `Hilm_ve:ra gay § fee

[P!ai\zt§i`§§-c;§;€i§sizz§;;iezii :h`cir_-_o\`\'fn u§a'im&}

‘ §i";,'o_ié '\¥€:é=z§l`§§z`c %{§R§. t':§c FDrm S€'-'ij§§)` _'Yolé¢e of
.‘!;y;:e_¢gl.' `%'uu must t`:ic wichita 3`{) H.~zy.-. a§;:_z rim
judge ‘5' licci>;ihrz,.

" 'ii`§'b\;"srurz: iic'g}* a§:ih¢=:rs`_ai.; fill Q'ir:"::nc§ §§c ‘§§>_m‘:
SC; § 33`.~£‘¥’¢;11'§1£ qf_' ¢'§'!arfr)); “:a !*'_q_c'me ,¢i¢){§r:;c'.¢:l_ ;mc`?_'
Dé»r!:gr¢;ria:é, m a';zk tim _is_ldgé` m cas:cé§ ii)ej£:i_igm mix
(Lz¢L-;§;<m z§-;h¢.;m§g; ages mm gm ym_¢-.,~ gsw
£_r§`:x§, yo§ h;:é*c; §.G's'izxy:\' !_o appeal thc_di;x_;j§$i;`)f§x. Z¢i§`c
§?br;w.‘ sat :40. ` ` ’

jair‘l'nc¥sz.:-z"izf'£>_?znm_§~@n £>v;"_jéz;'_z;`:`c;z§sk m:¢::

arm ;', cc:¢).r-v.r,_c»_:a gé:rz§’s¢izr;lfcfcss'm.s‘?ajzg;rcus'.\::

  

  

 

j§i\chs:?uhx: i§e`!`{qr:zu'h=g\B sg\i;\§§`ir`!;»n nr`x'run;qx;:;gi:}sl 1 ilez‘

;__'\.'s I`w:j ikmz`?}‘ '§;
§`¢'i Lif<i’¢'_‘ml. t §§c.'¢."£`-`§u?:`

   
  

1_’-:»“._»'\:, §"i 3_`6. 231 -]

:NLF'\~.':M J.'mu.:¢y Z_, 7911

g mm§»'m§€i€>a fof §he.- Defez_zd§§zi_ _'_€§§'1_@ §§Esun‘ being si;_a¢}z y

F:ameifffs- csaim>.and"e_zz§§§ 'w,\c;¢.§@ .SW§ chem ;::mr:.

` 5 of 7'
C 3 13 cv 02583-GPC-KSC Document 1-1 Fl|ed 10/25/13 Page|D.? Page
aSe : - - _ _ 7 7 - _ v 1 d

D`§_'£ have»»op;§dt'i's?

')’s;j>;;<}¥"-},xti.z iz;e'i)éilr_g ':{1_`:`:_:‘¢{. you can;_-

‘ ;Se€t¥s§ yburlca'se befar¢;§théftfiai. Ii'.'yi.lg' and‘-ll\L-"
Piaaif:;§f?';§§?i;c on=.i.m\\‘ 19 _:§§:Li§_\`: i£w casa-§§_§¥’bizyou=:pns;
nci}i’y'§¥m sbangle -'A§k.':§:c 313in C§:l§ms"ééx i'srpr`l"£'dr¢im!p'.~

- `qu§re‘f§h§§:fs ibewng cogri. f$_chd as ’E`urcc"~;‘u_:_l!ic`
"x:i;;;:"§ indem youg";:i‘!";`e¥_,'qxpiziini::¢g.g'hj:_;».jo'u f'hink 111{5'§;;
rhe.\\*rqng caun..Ask't{z¢ boyer §_o iiism§s§?:f `e»_¢:f;:inn
'_‘z§€m musa sy:-}='e- [_'g£vc] n-copy'g')'f your hires €by;mai% cv
iz_': gersonj !`o :r!_f pz§h£_és. {‘i'om'~ie;L_<;-z m kim z mm ijm_~:§

Say you have-doug cl,ijs;}‘

'~' Gs~%q%he-£riaf and'tw_` tb`wfn yqu:;';d_a~"s e, Hrii:g.
w‘imt‘=;$c$..r<:m:ip£s, u_nd` `;_'n_iy uvii}encc y'£zi!'“il bad m

- gauge your"\;;i;;c_. .Tb m nkc_surc§:t{;u tx"flni:sss 1 g`u__t"o the
'§r§:ii, §§§'e:zil§§m§x.SQ-i{>?. and tire §:§;:r§c-u'i §svhp{a`orm
jorjde;'§'i!i<:m w gp.

‘ S`ue.§he.;ze;§a_m who is guzng yi:»,az. ?:`i`n §érm
$€`<!2§: DQZE,';}¢/dk;} '_s__(_"[c:i.¢n.. Thi:`§§-lz§rt strict filling
dfzd§§:;';_s-ybuzmus! 'f`ol§ow.

' Agre€~ wif§¥ the Plain§if£js.g§a§m ami pi y the

`i'r;cnay, {):,"if yo'u,c;m '17 pay pipe midway nw ,\ go to
ymar:!i’i;x§ asz say_ygu want 10 nzp'k<;‘pa}fnjpztgs;

- Le£)§he,c:se»e “de€a.x.é!_t.§" __Ifyqu=dm\*;'sc;i£¢ asz zlo:no_:
ga fe i§e §giz_zf. {SQFQQEE}i.£hc`j_lzgi_ge may give': 1_<';'Pi§iniif`f
\=k}im_he:€)r'_s`h¢_ is &sk£a':g for plus gom"trc.osta:i£tilis

.thpg';z_é,,§m Z?iaim§{fz'\“:qn.,f:galfy'cgi;e_ y<`>d`r n Qn¢y_.
wag`;-s,`a.=ié'£`:p`mp.‘zrg/#xrb;pgy`§:hc§_j udgn;cmf ` `

What xii nee€:élmore fi§ne? _

¥_qu.czzn c'iza:§g;:"§?§c i:`ii;§ ifhfe'i_l":

‘ Y~ou ::mms)z.ga'€o co_un pp ziz_c_§.'c§\cdaz!ed dixie (y`a`iz`:wi§l
liavc‘io;;z:zy `a :£`c¢ iq pompano chc _uiz:}-}' sr `

.- §You did¢ae£ gcc scr‘\;w_-di{reecive'th§§'£$r£icr se g §§ ;o' _
c_:c_)gri} ax i‘c'.zst §§ days befth thc §?Ig}\{;;§ 28 thus "'§1' fagg
iiw 4;'\'\:_13£1§¢ 151-c coun{y_}`cj{=

- You smui§'m_d_';\: time to‘gc::;m.§u£ct‘prc§m..{§m
;:c_)$z;)cmemu::i is ;z!§q`w“cd,‘and'yéu=w§§L:_il'ei im 'c w gij
a'§'<:i.i.m d`::£;;y L§zc xria}.

Agzc-umsm§z': §§_;;;m§_c_:!¢rz< ébpu:__a;; riggs and fwth

{zu§rp¢niszg a :r§af_f¥r_fzii `iaf:iz F<m)r$€~ §§l¥'fgzr.méie ag

lerxc;“`}` angi`:§mi! ii io‘zi;e;cauii m:¢ff;b‘:z__fl ‘;)__:§1_¢=~' pan zia iz'sa<:{.i

c_m ymc'r` cgu mixich before-ghe- d.c`adli'nc, 'Erz§{es_`c éz,chs:s:k\.

ibp-your cda§'z._€ci_‘_'s`,gn!ess ;_1.1'@¢ 'W_xz'_z`j»{c:r waxng ii

 

 

 

§§ i*éeec£ §§e`f;`z,? . __ 7
Yc‘»ur ecmziyi‘s Smuli C'Ed?:zzs:&dvis;~.; am h.»;\ p I'qr 'i`rc<_:.

\ (\S§§é§{f§>%»;“$.q:§"

_ Or_ _:_1_§ tg>_ jagv'ss».gmcP'm,-'L"tugz'§',rif)i}¢;i`?!::!"cs§;r:.s&;;§§ .

 

 

magasz §~,._ rt g_u_um¢qu .,1.5';.~¢‘ cfsv!e_"('£z~. P`:e>`=. g, £,§G;IZGz-.-_;_jl !_r_-.__;;g_a =¢_;:1£":'»\ §_\iuug§zs"b§_a q.;_n_:>gi"§;q_¢;hni !'m`r
z .’¢:.\ae£&in;;£‘n`mi -.1!'1 ag\q;qghjfg: z=::.‘\»k"`:d. 51 5`:'-.50{§ limi§ zim:ig-j il'.-;;_\j:'l_':m?:m; z‘; gmwa %:j“ -.§n' ».\murm£€;ilu insis`¢~.,u`a;i:'}_~u§,i\':}‘ aj;i:§"-

xc§izdn":i :lnl}:.

SC-‘I GE?, ?Q.ge ~$. of"_§

- ;Smas: cla?ms; : \_ .»~@

 

  

. 3 inform acéér§
L`_a "£-Z"or_te c_le r&c§amos menores"
don<$e se‘c§ec§dgn cases psr 55.009
na!urzl' :€Que no\sea un_ negocio

es zj_na cone especial

`{} means l.§r;a ”p'c-:-rsona
n§'dnLa-e'zil`ida_d ;zz]bl'lca) _

puede-recl-amar hasla_$i@.[iuo.'i`_!`na "ger‘s_o:_xa.f'zaiural"'(que-

no sea un ne§mioln:' ama entitled g-L`)l)!ica}_, weinewa un

due'rio L`m:“cs. geqerelménle made reclama`z ha's§a SiB,'_OOG_.

(' Vea a§a§q;zara las `

_ excépdl`ones.j 555 §k;aa=_=$o es répidn y
bz¥alo- Las m§l§s sen sencillas a

§§fo§'rizsfes.
listed _es ei`§iemandado - la persona.que Seésté demand-
andc. i.a persona qu`e le eslé démandam$o as el Derniandame.
LNsceSito un abogado?

Pueqs_l“i`abiar cea un ala_ogado ames-o daspu_és del taso`.
Perc) no puede §$ser a_un abogadu que‘io re;){esenle anle
§§ cong {a~menos qua

se irene de un`.=.r apelaai:‘m de un case
de reclamos menores)

iiide ma p?e§aro para ¢ra.la cbrzq? _ 7
N’o.iierze agee presan§arrr:irzgunos papeles antes"dei juicio.-' 21
manes qua §§;‘ense.que ésta as la gurley équivocada para su
cast'). P_s:i'c) gave al initio cua|quler §€252§§0:~:, \;_Ec§ljns_, y
cualquier grx.§;eba's que;apoyan_rsu_caiso`. Y lea °Eslé
prépéradcs pam su §u£cio" erc .
mmcommca-gpw’recfamosmenores{¢repare§e.

¢Qué hsgo s? flewst ana ada piass'é_n?

31 lien§> wm §Esca§aci;lad c liens lmpe'cii?zz`e_`nt£:»s de
audic§c'm, §leae el formularln MC~S?O, R&:;uexi for ‘
A::ccmadatio?:s. Sntr§ague 21 formulch ai aecreiar§o cle.la‘
code o'a§ Ccorr_linadnr de Accil'-_:so_.'AEA de sutceriB.

J,Qué pasa-‘ei fmhale ing!é_s b£en?

Traiga‘a un‘ aquiliz;que fla se`a:tesfig`o para qua §§ Sl:'va de
fniér;`)_rete,'£) pills al sa'c_relar§o de la engle Que le as§gne uno_
Sl qulere qi_ze_?a come-le asigne un lhté{prete,’lt§ tiane qua
jpédir- coma‘m%n?mo simms cinch diaz ames de la fech_a en _
qua lesz;ga que is a la cong Ea pos.lb,le que-50 hays disponlble
un‘iniéspres§a pmpnrcionado par la cone a que wage qi.ae.
gagar ma emma per emplear un iméf_z)zeieide la serie,-. a
manos quinn ié_nga ana exeme‘éi"_i de wo%as. ?Hu§c§e§'p{zd"xr a la.
code ima liens sie-ir;lérpre:es y la Sc)ficilu`d`éle exenc’¢c'm de
casias y casias de la cone {fnrm_ulaflo FW~{}S? 3a

,,_',Dc`»rzde pué€§`:} wiener los fema alarms de lea-gong que
netss_£w?

Vaya a cua£qu$z_zl" sullich

de la code, la bz?)§ibx'eca l`eg_al_de 311
conda;io. o imprima los_l‘on'mslarios er_z: yeats:»; coms:ca:g;zs_¢f
smal!ciaén_s{{ofms (pégina‘a_`sté en inglés'_§*

Q,Qué pass err é_l§l)_icici?

El julsz e§g;:charé a=ambas pai§les. E! ju'ez pu\f.>d`e lamar
sp dedst duz`,ar;_£e la audiencia 0 ehqiérse£a pay herrera
.déspigé:$. ,

Q,Qué piasé§ §§ §3§2¥61;1 el casp?

para el demandado ila persona

' ' f7
Case 3'13-CV-02583-GPC-KSC Document 1-1 Fl|ed 10/25/13 Page|D.S_ Pelge 6 0

demam§acz al
};Yengcl oiras¢opca'ones? `
S:'. S§ ip asian demandadcln, pa éde:
- Résofver' su-;:es;> antes¢'déi§uic§n. Si usi
ibeme:zdzméfse ponen cl`e-;zcuerdo en vega
eml:.t§s getman qu`a'noli_§car'a la car`§a- F.‘Siia€e allAsesdr de
` Recwngos Mlznores_c;ue l<_) ayucie.
Proher.qus es facuer eql}_e"vc)c;ada. Es'zvs'a,.uha`cana a la
cone“anzes del §uiciq explicanclo psr q,ué‘m:ae.que as la
corte.equfyocada.'?>l'dale 'a la cone qua de?pida el
reclava ?i`ehe qua_entregar'{dar} una:cop de so dana
§p~;>_r c_érrea c en pérsoq'a} a lodas las p_a`g`tr` `..T[Su canada la
cme ¥Ieeze_i:;he deck qua hii.‘o ia edirega.j
lr al juich y llatar aa ganar el casu.`£,.le
recii)os.y'<:a;aiquieg‘ p_`!?l.i_eba _que necele pa
' cas§. Péra as=e'gurarse,que las.:esljgm' va
gayle el formalario SQ~lOT; y el secreta:f;o
-ord en' de mmpérecencia ordeaée;§ofes gus
D`.o,manc§ara 1a piersch qua lo de_n§and:&.
formulaa'o 801-251 Racia‘_n`zb del demandaa
flmibe eslf§stas`que date seguir.
'Aceplar-el reafa'mo del Damar_:cfasiia y pa ;ar el
dinerxé. £3. eli mo pc._sede pager-en esa mbr!'xeszlo, vaya al
imich ;‘{§z`ga quejquiere heaney lpé pages `
Mo iy‘§§ §uic.iz_: y aceptar'el falls ;:m‘ §ai`ta d
comparecen§ia. Srl nu.llega ax am aci_l§r§€o c
Demanc§an!e gi*no ira al iu:'c§o fiallo gm table
marémnci`a)i el juq`z le invade etcrgar'al_
fo-que'aszé redamando més 1125 cuslcsde‘lz
caso, lzl ikemarz<lanle legalmenle'puede'lé:`§?
su same c's'hs.b§enes parapeb`ra'r e%`fé§o.
;_,Gué ha§o si q&cesllc male liempp‘?
Puarle cade la realm del iuiciu'si':
. No pvadze%'a §§ carmen ia.leci_aa ppg§a;zva§a {ie
pag@r um weis §`ar'a_ aplazar el inlcicz a
No is eqls%§sm_n ins ijchth lega§z'sanie {¢‘u`:'
owen parazq g la alarm pol iq manos §§ slag gale
(é 23 dies si v€»,e'fuer__a del condadu}. g
Nems§€a male ziern;zp para ccnse§u_§{‘ immes,;{£
sdfo'ah§§z.aml$!]lr>
juiainj,
PregE-n§ela él sec:z~el'ar'_lo de
regies y las-c§g.zi_a§ péra apl
formu{a§'?@ SS-§SG {c)=qsqrjb

LE`G_ y el
_lve'r el»caso,

 

  
   
  
    

a

"¥esti§g$.

3 probar 'su'

ri aj juiclp.

flra' tma

se presenten..
Preserz_l§ jet .'
3_; Ha§r'fechas

2
m -el

§§
J`Emar:danle
'r:oc_ie_-._En esa
ar m dine'm,-

§dfé‘que

¢¢2;1:¢ z'a
s del im`cib

o

a yarmi§s un
sin: zener qua pager mims para£apiézar el

_.'ec:lémos\merwres z ibm las

azar u`n jui:i§§. 9 l§er:e §§

alma carta}'y emie:) ames del
plazo'a la mm y_e mdas.las o!raiv,_ personas~qu 'f?gg.lra.h en
su_s papales de ia cdn_e. Adj£mce un umwa par x pager los
cosess`xie la r`:azze, a msms.qua Ee_ hagan §eclc>'- mé:e§cen;:ic'm=

 

 

 

 

 

_ _ . , _ , v \ ;Nez:asiia>ay.uda? El'AsesQr’éle as ms

Sl pzem’e; pue€§g_‘a§§iar: Ter`cdré qua p_z¢gasj‘qrsa quaia;. {Eil Mém,.es.de gm mnda‘ds w powe a§,q£j §:_js;,);__¢argo_

Dram andante m grade §pelar'su prapir> zeclzmo.} l ‘ ' , ‘. a-i

. 'Si mtqu preseni'_e en al iu:‘£':i:)§ llenéz¢gl'farm@erio ' ‘ 7 '
$C~$§G. 'Aw`s;z cia ‘apé_.'a_c;:'r.'\n. Tlerse quep¥&s€ma'r§s @§%U_ {D"§L.`g d\, 1:;`_'71_“§§_,
derive c§e`?}[§ §;'as' depués de`la declslén del ;'uez; .. ' : ' ' `

. S.l no-e§luvo.ea el §Qic‘§b,]l¢na y presentes g§_`fo'mulario l__ . _ l
5(3~135, Av€se de §ef!z;r'¢in p`ara.a'nuiar efi.fai!o y . 9 ma ~jn;¢}r;»nag§;§h_;;;;.§¢¢§a@d¢§" en,- ` '
De`c?aracicin para_péd:`de al §uez qua enule el lél§e vmw.cc;ms.c¢gbviredamosme`ngz'a$fés$sores,

{decislc‘)q}. ~Si la cane ng.!g'- Q_gcrga am nuevc¢_}uic§c:. ijz'§r:'e 15¥€§¢¢;¢“§=:£=3;5¢" mpg;»_ams¢`qs_mé m gin mzamp german g- ';»_:e. {v».-nq\z:
10 dies para aae§aq la dc;cls;f.\n. §’reserl%e e§ formularm :§§;::§;;:h§§y§§ §§:“£§§;;l§:_c§:;:$:@d;: w
SC"- 1 'm» w\emqvi!fs;im, summa lime 'm, s?-.:»<!u':`i el nema:_zca_amene ms -r:m:; haw gm

Paria wiener mix inf;:£:;nécién some las `apéié;§an€s, vea'. pam ge mgm gagnme eququ ss wagman de dq:m,»‘ (i=¢z;ez emg;~,>

www.cour?s.ca.§o#!re:}amosmenbrasfape?acioaes. de P*°‘¢‘°‘§W C€"="-S’-"~$’M "‘.5~'1‘1<‘..“1

nw&».o:, ,z¢r`¢.'Z-.ry z_z`afz' Rgg§amg def §`}@mand§nte y £}§Z§EY{ SC»‘Y 13€*,‘ ;’at_:e 5 of'§

Pera' ir 31 Za'£¥srte d
‘ ' ,{Rstlem

a R¢c§amcs M`enors:s
ms Manclr§$§

 

" Case 3:13-CV-02583-GPC-KSC Document 1-1 Filed 10/25/13 Page|D.Q Page?of?

 

!ZU$PB%§?SB§£ SZR§H£E GHMPAHY‘

§§$§YY§

 

` ' ' nmi-2 f A§_L.
'. w Transm§iia¥ Number: 113 '?23‘§ §§
Noiic@ §§ Sewice §§ Pmc@$$ m z>m¢essed= mm§@e
Primary Comaci: Mr. Jim Dei?;er‘
SFiA Associates

401 Minnetoni<a Roaci
Hi»Nella, NJ 08£>83

 

Erzti'cy:

Entity Ser\:ed;

Titie of`Ac.tion:
Doc:ument(s} `§”§';ae:
Nature of Ac:ticm:
CourUAgency:
Case/Reierence b£o:
Jurisd.iz:tion Sewed:
Da£e Served on €.`,SC:
Answer ar Appearaace Due:
Ori§inaiiy Sewed On:
How Serve~:i:

Sender |niormat§on:

SRA Associates, lnc.
§ntiiy §§ Number 2213603

SRA Associates, inc.

Ralph Fischer vs. SR`A Ass<)cia¥:es, Inc.
Notice and Com;)iaini

Conisac'r

San S§ego Cou my Super§er flaum Cali$omia
37'-2€3$3-00311SZS-SC»SC»C"£'L
Ca¥i?omia

iO!’;S?QOi 3

§ 1512!2013

CSC

Personai Service

Ra§ph Fischer
SSS-Zi 2~5375

 

information ceniained nn wis transmitia§ form is ‘r‘cJ: record i<eeping, noiificatiorz and forwarding the attached documenf(s). lt does nci
constitute a iegai opin§oi'i. The recipient is respoasible fm interpreting the éoovmenta and taking appropriate action

To avoid powth deiay_. Piease do not send gram response w CSC

-GSC is SAS?G 'f}/pe H certified for iia £.ie‘i§aiicz? Managem@nf Sys£em.
2?11 Centervii§e Rezac{ W§im:`ng‘to:i, DE 19508 {838} 630~2382 i sop@ cscinio.oom

